
PER CURIAM.
Appellant challenges his convictions for possession of cocaine and possession of drug paraphernalia, arguing that the evidence was legally insufficient to sustain the convictions. We reject appellant’s assertion and affirm the convictions without further elaboration.
Appellant also challenges an order revoking his probation, arguing that several of the violations cited in the written order were not proved at the revocation hearing. The state correctly concedes the need for a remand so that the trial court can conform its written revocation order to its oral pronouncements. On remand, the trial court should strike from its order the references to a violation of condition (10), and paragraphs B, C, F, G, H, I and J.
AFFIRMED in part, REVERSED in part and REMANDED.
BOOTH, BARFIELD and MINER, JJ., concur.
